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                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MARYLA~l   NOV21                          P 3: l\ 1
       UNITED STATES OF AMERICA                             *                          CU_
                                                            *
                  v.                                        *      CRIMINAL        N~.   (;7(»- & II if ~2-5
                                                            *
       MITCHELL            OREN SMITH,                      *      (Aggravated Sexual Abuse, 18 U.S.c.
                                                            *      ~ 2241(c); Abusive Sexual Contact,
                            Defendant                       *      18 U.S.c. ~ 2244(a)(5»
                                                            *
                                                         *******
                                                      INDICTMENT

                                                      COUNT ONE
                                        (Aggravated    Sexual Abuse of a Child)

                The Grand Jury for the District of Maryland charges that:

                Between on or about July 22, 2017, and on or about July 24,2017, in the District of

      Maryland and elsewhere, the defendant,

                                            MITCHELL       OREN SMITH,

      while in the special maritime and territorial jurisdiction of the United States, did knowingly

      engage in and attempt to engage in a sexual act, as defined in 18 U.S.c.         S 2246(2),   with Victim

      A, a person who had not attained the age of 12 years.




      18 U.S.C.     S 2241(c)
      18 U.S.c.     S7
          Case 8:17-cr-00625-PWG Document 2 Filed 11/27/17 Page 2 of 2



                                        COUNT TWO
                             (Abusive Sexual Contact with a Child)

       The Grand Jury for the District of Maryland further charges that:

       Between on or about July 22,2017, and on or about July 24,2017, in the District of

Maryland and elsewhere, the defendant,

                                  MITCHELL OREN SMITH,

while in the special maritime and territorial jurisdiction of the United States, did knowingly

engage in and cause sexual contact, as defined in 18 U.S.c. ~ 2246(3), with and by Victim A, a

person who had not attained the age of 12 years, and which would have violated 18 U.S.c.

~ 2241 (c) had the sexual contact been a sexual act, as defined in 18 U.S.c. ~ 2246(2).




18 U.S.C. ~ 2244(a)(5)
18 U.S.c. ~ 7

                                                      ~M.sJ~\~?>
                                                      Stephe M. Schenning
                                                      Acting United States Attorney

A.IRUE BILL:

SIGNATURE REDACTED
                                                      Date: November 27,2017
Foreperson




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